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                     UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


                                                 :
  In Re: Restrictions on Courthouse              :   Case No. 3:20-mc-23-TJC
  Access Due to COVID-19                         :
                                                 :



       INTERVENOR LUCAS WALL’S MOTION TO VACATE ORDER
       REQUIRING THE WEARING OF MASKS IN COURTHOUSES

     COMES NOW intervenor Lucas Wall, pro se, and moves for an order vacating

  the Court’s July 31, 2021, Order requiring anyone entering a courthouse in the

  Middle District of Florida to wear a face mask. Doc. 4. This Order is the fourth in a

  series the chief judge has entered since Dec. 22, 2020, severely restricting access

  to all courthouses in the Middle District. Docs. 1-3.


                             I. STATEMENT OF FACTS

  1. MY INTEREST: I filed a lawsuit in this judicial district against the Centers for

     Disease Control & Prevention, Department of Health & Human Services, and

     several other defendants June 7, 2021, to vacate the ultra vires Federal Trans-

     portation Mask Mandate (“FTMM”). Wall v. Centers for Disease Control & Pre-

     vention, No. 6:21-cv-975.

  2. I filed a lawsuit in this judicial district against seven airlines June 14, 2021, for

     illegal discrimination against the disabled with medical conditions who can’t




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        safely wear face masks. A dozen other disabled Americans later joined that law-

        suit as a putative class action on behalf of the millions of travelers required to

        muzzle themselves aboard airplanes every day as a condition of transportation.

        Wall v. Southwest Airlines, No. 6:21-cv-1008.

  3. Both the magistrate judge and district judge presiding over these two cases have

        acted with great animus toward my 12 coplaintiffs and me, raising extreme con-

        cern about their ability to be impartial considering that this Court enforces a

        mask mandate that appears to have no legal authority.

  4. I CAN’T TOLERATE WEARING A FACE MASK: Due to my Generalized

        Anxiety Disorder, I have never covered my face. I tried a mask a couple times

        for brief periods in 2020, but had to remove it after five or so minutes because

        it caused me to instigate a feeling of a panic attack, including hyperventilating

        and other breathing trouble.

  5. Medical records show I have long been diagnosed with Generalized Anxiety Dis-

        order. Exs. 12-17.1

  6. I take medication to control my anxiety, but wearing a mask still causes uncon-

        trollable panic attacks, hyperventilation, and other respiratory distress. Ex. 18.

  7. My doctor wrote that “Lucas Wall ... has a longstanding history of generalized

        anxiety disorder. As a result he is unable to wear a face covering, thus I am rec-

        ommending he does not wear a face covering.” Ex. 19.




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      Exhibits are not numbered sequentially to maintain consistency with previous numbering.


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  8. Medical experts agree with my physician that “For many individuals with dif-

        ferent types of disabilities the effects of wearing a mask are far more severe than

        being slightly uncomfortable. Wearing a face mask can have a significant impact

        on their health, wellbeing, and ability to function. … People with anxiety

        disorders … may develop severe anxiety when wearing a face

        mask.” Ex. 20 (emphasis added).

  9. CONGRESS HAS NEVER ENACTED A MASK MANDATE: The Court’s

        imposition of a mask requirement goes against the express wishes of Congress.

        The Legislative Branch has explicitly failed to mandate masks in any setting,

        including the Judicial Branch. This shows clear, unambiguous congressional

        intent.

  10.      The federal legislative response to coronavirus has been enormous with doz-

        ens of bills related to the COVID-19 pandemic enacted into law. This includes

        the Coronavirus Aid, Relief, & Economic Security Act, H.R. 748 (“CARES Act”).

  11.      Among other things, the CARES Act authorizes the Judicial Conference of

        the United States to provide the chief judge of a U.S. District Court authority to

        permit identified criminal proceedings by video or audio conference.

  12.      The chief judge of this judicial district has issued orders permitting the use

        of video or audio hearings due to COVID-19, as authorized by the CARES Act.

        In Re: The National Emergency Declared on March 13, 2020, No. 8:20-mc-25.




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  13.      However, not a single provision of the CARES Act or any other bill enacted

        by Congress during the COVID-19 pandemic authorizes federal courts to re-

        quire face masks as a condition of entry.

  14.      VOLUMINOUS SCIENTIFIC & MEDICAL RESEARCH SHOWS

        MASKS HAVE PROVEN TO BE TOTALLY INEFFECTIVE IN REDUC-

        ING COVID-19 TRANSMISSION: There’s nothing in the record of this case

        showing that the chief judge considered the robust scientific and medical evi-

        dence documenting how masks are totally ineffective in reducing COVID-19 in-

        fections, hospitalizations, and deaths. See 227 scientific studies, medical arti-

        cles, and videos posted at https://lucas.travel/masksarebad.

  15.      For example, a study released May 25, 2021, by the University of Louisville

        found state mask mandates didn't help slow COVID-19 transmission. Id.

  16.      Mask manufacturers themselves admit their products are “not for medical

        use,” “cannot eliminate the risk of contracting an infectious disease,” “are not

        personal protective equipment,” and “are not intended … to prevent any disease

        or illness.” Exs. 79-80 (photographs of masks for sale at a Costco in Orlando

        taken June 2, 2021).

  17.      The federal government’s experience confirms masks aren’t effective, data

        that the Court has failed to consider. For example, the Transportation Security




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        Administration (“TSA”) admits that more than 12,000 of its employees2 – all of

        whom must wear masks – have tested positive for COVID-19. Ex. 82.

  18.      In my lawsuit against the FTMM, the Executive Branch fails to answer a sim-

        ple question: “If masks are effective, why have so many TSA workers contracted

        COVID-19?”

  19.      Wearing a cloth mask does not shield the user from coronavirus because too

        many infected droplets can slip through, according to a study by scientists at

        New Mexico State University. https://lucas.travel/masksarebad.

  20.      One of the first real-world studies to conclude that face masks don’t reduce

        COVID-19 infections was published in November 2020 by Danish scientists.

        The study divided thousands of Danish into groups of maskwearers and non-

        maskwearers. “4,862 completed the study. Infection with SARS-CoV-2 oc-

        curred in 42 participants [wearing] masks (1.8%) and 53 control participants

        [who did not cover their faces] (2.1%). The between-group difference was 0.3

        percentage point … the difference observed was not statistically sig-

        nificant…” https://lucas.travel/masksarebad. (emphasis added).

  21.      “When it comes to masks, it appears there is still little good evidence they

        prevent the spread of airborne diseases. … overall, there is a troubling lack




  2 Since about half of those infected with COVID-19 don’t have symptoms and might not realize

  they are infected, health authorities indicate that the real prevalence of the virus is typically at
  least double the number of cases confirmed by testing. TSA admits 12,057 of its workers have
  tested positive for coronavirus (19% of its employees). Ex. 82. This means that some 24,000 TSA
  workers, nearly 2/5 of its workforce, have likely had coronavirus. Yet they all have been forced to
  wear masks for more than 1½ years. So how exactly are masks effective in stopping COVID-19?


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        of robust evidence on face masks and Covid-19.” Ex. 83 (emphasis

        added).

  22.      “[N]ow that we have properly rigorous scientific research we can rely on, the

        evidence shows that wearing masks in the community does not sig-

        nificantly reduce the rates of infection.” Id. (emphasis added).

  23.      “Upon our critical review of the available literature, we found only weak ev-

        idence for wearing a face mask as an efficient hygienic tool to prevent the spread

        of a viral infection,” according to a study published in the European Journal of

        Medical Research. https://lucas.travel/masksarebad.

  24.      “In controlled laboratory situations, face masks appear to do a good job of

        reducing the spread of coronavirus (at least in hamsters) and other respiratory

        viruses. However, evidence shows maskwearing policies seem to have had

        much less impact on the community spread of COVID-19. Why this gap between

        the effectiveness in the lab and the effectiveness seen in the community? The

        real world is more complex than a controlled laboratory situation.” Ex. 84.

  25.      “The most comprehensive between-country study of masks for COVID-19

        infection is a comparison of policy changes, such as social distancing, travel re-

        strictions, and mask wearing, across 41 countries. It found introducing a

        mask-wearing policy had little impact …” Id. (emphasis added).

  26.      “CDC has admitted face masks do little to prevent the spread of COVID-19

        amid mounting pressure to lift mask mandates across the U.S. In a new study,




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        the CDC found face masks had a negligible impact on coronavirus numbers that

        didn't exceed statistical margins of error.” Ex. 85.

  27.      “It is not clear however, what the scientific and clinical basis for wearing

        facemasks as protective strategy, given the fact that facemasks restrict breath-

        ing, causing hypoxemia and hypercapnia, and increase the risk for respiratory

        complications, self-contamination, and exacerbation of existing chronic condi-

        tions,” according to a paper published by the National Institutes of Health

        (“NIH”). Ex. 86.

  28.      “Where others say the science is settled, our analysis shows that

        is not the case. We break down the most widely referenced studies on mask-

        ing policies so you can see for yourself what the data really says. We should also

        point out that it is unscientific to claim that the science is settled. Sci-

        ence is always a work-in-progress and we should never make the false claim

        that a scientific theory is settled as fact.” https://lucas.travel/masksarebad.

        (emphasis added).

  29.      “COVID-19 is as politically-charged as it is infectious. Early in the COVID-

        19 pandemic, the WHO, the CDC, and NIH’s Dr. Anthony Fauci discouraged

        wearing masks as not useful for non-health care workers. Now they recommend

        wearing cloth face coverings in public settings where other social distancing

        measures are hard to do (e.g., grocery stores and pharmacies). The recom-

        mendation was published without a single scientific paper or other

        information provided to support that cloth masks actually provide


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        any respiratory protection,” according to the Association of American

        Physicians & Surgeons. Id. (emphasis added).

  30.      “Conclusion: Wearing masks … will not be effective at preventing

        SARS-CoV-2 transmission, whether worn as source control or as PPE.” Id.

        (emphasis added).

  31.      In offering guidance in favor of masking, CDC constantly ignores its own

        research: “In a recent report in Emerging Infectious Diseases, … CDC suggests

        what experts have stated all along: There is no conclusive evidence that cloth

        masks protects users from coronavirus, especially since most people do not use

        them correctly and do not keep them clean.” Ex. 87.

  32.      “There is increasing evidence that cloth masks not only may be ineffective

        against stopping coronavirus transmission, but that they may actually in-

        crease the spread of the virus, as well as worsening other health

        conditions.” Id. (emphasis added).

  33.      “A September report by the CDC found that more than 70% of COVID-posi-

        tive patients contracted the virus in spite of faithful mask wearing while in pub-

        lic. Moreover, 14% of the patients who said they ‘often’ wore masks were also

        infected. Meanwhile, just 4% of the COVID-positive patients said they ‘never’

        wore masks in the 14 days before the onset of their illness.” Id.

  34.      “A Covid-19 cross-country study by the University of East Anglia came to

        the conclusion that a mask requirement was of no benefit and could even in-

        crease the risk of infection.” Ex. 88.


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  35.      “A July 2020 study by Japanese researchers found that cloth masks ‘offer

        zero protection against coronavirus’ due to their large pore size and gen-

        erally poor fit.” Id. (emphasis added).

  36.      “Importantly, the evidence just is and was not there to support

        mask use for asymptomatic people to stop viral spread during a

        pandemic. While the evidence may seem conflicted, the evidence (including

        the peer-reviewed evidence) actually does not support its use and leans heav-

        ily toward masks having no significant impact in stopping spread

        of the COVID virus. In fact, it is not unreasonable at this time to conclude

        that surgical and cloth masks, used as they currently are, have absolutely no

        impact on controlling the transmission of Covid-19 virus, and current evi-

        dence implies that face masks can be actually harmful.” Ex. 89 (em-

        phasis added).

  37.      The Court has “failed to look at the evidence or follow it, and continue to

        operate in an arbitrary nonscientific, nonevidence informed man-

        ner.” Id. (emphasis added).

  38.      “The history of modern times shows that already in the influenza pandemics

        of 1918-1919, 1957-58, 1968, 2002, in SARS 2004–2005, as well as with the

        influenza in 2009, masks in everyday use could not achieve the hoped-

        for success in the fight against viral infection scenarios.” Ex. 90 (em-

        phasis added).




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  39.      CDC admitted in its “Emerging Infectious Diseases” May 2020 publication

        that “Although mechanistic studies support the potential effect of hand hygiene

        or face masks, evidence from 14 randomized controlled trials of these measures

        did not support a substantial effect on transmission of laboratory-confirmed

        influenza. … The effect of hand hygiene combined with face masks on labora-

        tory-confirmed influenza was not statistically significant …” Ex. 91.

  40.      The University of Colorado School of Medicine published an article in the

        January/February 2021 edition of Annals of Family Medicine concluding:

        “Cloth masks lack evidence for adequate protection of health care clinicians

        against respiratory viral infections. The CDC notes that cloth masks are not con-

        sidered PPE [personal protective equipment] and that their capability to protect

        health care clinicians is not currently known. The CDC does not offer infor-

        mation regarding the degree of protection a cloth mask might provide com-

        pared to a medical mask.” Ex. 92.

  41.      “Transmission of COVID-19 in 282 clusters in Catalonia, Spain: a Cohort

        Study,” published Feb. 2, 2021, in Lancet Infectious Diseases, “observed no

        association of risk of transmission with reported mask usage by

        contacts …” https://lucas.travel/masksarebad (emphasis added).

  42.      “At the very end of 2020, the WHO updated their guidelines, noting that any

        kind of mask was ineffective if the wearer come into close contact with someone

        for 15 minutes or more. … A mask alone, even when it is used correctly, is in-

        sufficient to provide adequate protection or source control.” Ex. 93.


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  43.      “The World Health Organization admits there is no scientific medical rea-

        son for any healthy person to wear a mask outside of a hospital. … If you do not

        have any respiratory symptoms, such as fever, cough, or runny nose, you do not

        need to wear a medical mask. When used alone, masks can give you a false feel-

        ing of protection and can even be a source of infection when not used correctly.”

        Ex. 94.

  44.      MASKS POSE SERIOUS HEALTH RISKS TO HUMANS FORCED

        TO WEAR THEM: In addition to the science showing that masks have proven

        totally ineffective in reducing coronavirus spread and deaths, there’s nothing in

        the record of this case showing that the Court considered the serious health

        risks to human beings of forced muzzling.

  45.      Hundreds of scientific and medical studies illustrate the frightening number

        of negative health consequences of covering your face. https://lucas.

        travel/masksarebad.

  46.      A table succinctly summarizes the numerous “Physiological & Psychological

        Effects of Wearing Facemasks & Their Potential Health Consequences.” Ex. 95.

  47.      The leading authority on this subject is a 42-page paper published April 20,

        2021, by eight German doctors and scientists in the International Journal of

        Environmental Research & Public Health. Ex. 90.




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  48.      They found: “Up until now, there has been no comprehensive investigation

        as to the adverse health effects masks can cause.” The doctors reviewed 65 sci-

        entific papers on masks – and determined dozens of adverse health effects of

        covering your nose and mouth. Id.

  49.      These German doctors and scientists coined a new disease: Mask-Induced

        Exhaustion Syndrome (“MIES”). Id.

  50.      Symptoms of MIES include “an increase in breathing dead space volume,

        increase in breathing resistance, increase in blood carbon dioxide, decrease in

        blood oxygen saturation, increase in heart rate, increase in blood pressure, de-

        crease in cardiopulmonary capacity, increase in respiratory rate, shortness of

        breath and difficulty breathing, headache, dizziness, feeling hot and clammy,

        decreased ability to concentrate, decreased ability to think, drowsiness, de-

        crease in empathy perception, impaired skin barrier function with itching, acne,

        skin lesions and irritation, overall perceived fatigue and exhaustion.” Id.

  51.      Scientists have identified at least 68 dangers to human health from

        maskwearing including adverse skin reactions such as acne, alveolitis (an in-

        flammatory lung disorder), anxiety, asthma, bacterial pneumonia, blood-oxy-

        gen depletion, breathing difficulties, bronchiectasis (a condition in which the

        lungs' airways become damaged), carbon-dioxide retention, candidiasis (fungal

        infestation of the mucous membranes), cheilitis (inflammation of the lips),

        chronic bronchitis, chronic pneumonia, confusion, concentration problems, de-

        crease in psychomotoric abilities, decreased thinking ability and disorientation,


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     depression, dental impacts such as cavities, discouragement, disrupted nonver-

     bal and verbal communication, disrupted social interaction, disruption of the

     basics of human communication (verbal and non-verbal), dizziness, drowsi-

     ness, dry mouth, elevated risk of COVID-19 through self-contamination, ele-

     vated transcutaneous carbon-dioxide values, exhaustion, facial deformities, fa-

     cial itching, facial rashes, fatigue, fibrosis (excess tissue deposition), gingivitis

     (inflammation of the gums), halitosis (bad breath), headaches, hypercapnia hy-

     perventilation, hypoxia, impaired clarity of speech, impaired cognitive abilities,

     impaired field of vision, impaired learning, impetigo (a bacterial infection that

     produces red sores and can lead to kidney damage), increased blood pressure,

     increased feelings of insecurity, increased heart rate, increased risk of infection

     because masks are an ideal growth and breeding ground for various pathogens

     such as bacteria and fungi, increased stress, inhalation of toxic substances such

     as microplastics and chlorine compounds located in the masks, irritability, irri-

     tation of the respiratory tract, isolation, malaise, microbiological contamination

     (germ colonization), neuropathological and cardiovascular consequences,

     numbness, panic attacks, physiological changes and discomfort, reduced cardi-

     opulmonary capacity, reduced happiness, reduced performance capability, skin

     irritation, social withdrawal, spontaneous pneumothorax, vascular damage,

     and voice disorders. https://lucas.travel/masksarebad.




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  52.      For panic-prone individuals with diagnosed anxiety disorders such as my-

        self, “stress-inducing noradrenergic sympathetic activation can be partly di-

        rectly mediated via the carbon dioxide (CO2) mechanism at the locus coeruleus

        in the brainstem, but also in the usual way via chemo-sensitive neurons of the

        nucleus solitarius in the medulla. The nucleus solitarius is located in the deep-

        est part of the brainstem, a gateway to neuronal respiratory and circulatory con-

        trol. A decreased oxygen (O2) blood level there causes the activation of the sym-

        pathetic axis via chemoreceptors in the carotids … Masks, therefore, trigger di-

        rect reactions in important control centers of the affected brain via the slightest

        changes in oxygen and carbon dioxide in the blood of the wearer.” Ex. 90.

  53.      Numerous other medical and scientific studies warn us of the dangers of

        wearing face masks: “A recent study in the journal Cancer Discovery found that

        inhalation of harmful microbes can contribute to advanced stage lung cancer in

        adults. Long-term use of face masks may help breed these dangerous

        pathogens. Microbiologists agree that frequent mask wearing creates a moist

        environment in which microbes are allowed to grow and proliferate before en-

        tering the lungs.” Ex. 96 (emphasis added).

  54.      “Since forced mask wearing began, dermatologists have coined the term

        ‘maskne’ to describe an onset of pimples near the mouth caused by masks clog-

        ging up pores with oil and bacteria. This can be caused by either disposable or

        cloth masks.” Id.




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  55.      “Dentists have also been warning about a phenomenon known as ‘mask

        mouth’ in which patients are arriving back to the dental office with an increase

        in gingivitis and tooth decay as high as 50% in a period of just a few months

        since mask mandates began. This discovery sheds light on the growing

        evidence of harm caused by long-term mask wearing.” Id. (emphasis

        added).

  56.      “In some situations, wearing a cloth face covering may exacerbate a physical

        or mental health condition, lead to a medical emergency, or introduce signifi-

        cant safety concerns, the Center[s] for Disease Control explains.” Ex. 97.

  57.      “Breathing is one of the most important physiological functions to sustain

        life and health. Human body requires a continuous and adequate oxygen (O2)

        supply to all organs and cells for normal function and survival. … Long-term

        practice of wearing facemasks has strong potential for devastating

        health consequences.” Ex. 86.

  58.      “Vulnerable populations such as people with mental health disorders … are

        at significant health risk for complications and harm … Wearing [a] facemask

        mechanically restricts breathing by increasing the resistance of air movement

        during both inhalation and exhalation process. … prolonged and continu-

        ous effect of wearing facemask is maladaptive and could be detri-

        mental for health.” Id. (emphasis added).

  59.      “Cloth masks actually risk your health rather than protect it. The

        moisture caught in these masks will become mildew-ridden in 30 minutes. Dry


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        coughing, enhanced allergies, sore throat are all symptoms of a micro-mold in

        your mask.” Ex. 93 (emphasis added).

  60.      “Scores of dermatologists, dentists, immunologists, virologists, [and] pedia-

        tricians all over the world have been sounding the alarm for months over the

        continued use of face masks.” Id. (emphasis added).

  61.      “But aside from not being as effective against the coronavirus as so-called

        health experts claim, masks may even pose a risk to human health. For instance,

        a recently published review of studies on mask-related adverse health effects

        suggested that mask-wearing may seriously harm people without

        any notable benefit.” Ex. 98 (emphasis added).

  62.      “Scientists have found evidence that some face masks which are on sale and

        being used by members of the general public are laced with toxic chemicals.

        Preliminary tests have revealed traces of a variety of compounds which are

        heavily restricted for both health and environmental reasons. This includes for-

        maldehyde, a chemical known to cause watery eyes; a burning sensations in the

        eyes, nose, and throat; coughing; wheezing; and nausea. Experts are concerned

        that the presence of these chemicals in masks which are being worn for pro-

        longed periods of time could cause unintended health issues.” Ex. 99.


                                     II. ARGUMENT

  A. The Court cited no authority in its Order for requiring everyone en-
  tering a Middle District of Florida Courthouse to cover their face.




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     As discussed above, Congress has not given the Judicial Branch any authority

  to require anyone entering a federal courthouse obstruct their breathing by wear-

  ing a face mask. The most recent Order merely states it “is issued in accordance

  with the Centers for Disease Control and Prevention (CDC) guidance concerning

  the ongoing COVID-19 pandemic.” Doc. 4 at 1. But CDC guidance is not law allow-

  ing the Court to impose a mask mandate. The July 30, 2021, Order does not cite

  any statute empowering the Court to act as doctors and prescribe the use of exper-

  imental medical devices. As argued below, the law actually specifically prohibits

  the Court (or anyone else) from doing this.

     The Order goes on to state, without citing any legal authority:

        “Every person age four or over seeking to enter a courthouse, including em-
        ployees and regardless of vaccination status, must wear a mask that covers
        the person’s mouth, nose, and chin while: (1) in any public or common area
        of a courthouse, including elevators, hallways, lobbies, conference rooms,
        courtrooms, enclosed parking spaces, and bathrooms; and (2) in any secure
        or employee-designated spaces of a courthouse building, including eleva-
        tors, hallways, lobbies, conference rooms, courtrooms, enclosed parking
        spaces, bathrooms, and any other space where two or more employees con-
        gregate.” Id. at 2.

     It’s shocking the Court orders the use of law-enforcement personnel to enforce

  a policy that has no basis in the law.

        “Law enforcement officers, protective service officers, and court security of-
        ficers working for the Federal Protective Service and the U.S. Marshals Ser-
        vice will comply with and enforce this Order. A person who does not comply
        with this Order will not be allowed to enter the courthouse or, if already in
        the courthouse, will be directed to leave.” Id. at 4.




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  B. The Court’s mandatory mask policy violates the Food, Drug, & Cos-
  metic Act by forcing those entering courthouses to wear Food & Drug
  Administration unauthorized or Emergency Use Authorization medi-
  cal devices without our consent.

     The Court forces litigants and others seeking entrance to a courthouse to use a

  medical device (face mask), most of which are approved by the Food & Drug Ad-

  ministration (“FDA”) under Emergency Use Authorization (“EUA”) – or have no

  authorization at all.

        “A person entering a courthouse should bring their own mask, but the Court
        will provide a disposable mask if needed or if a law enforcement officer,
        court security officer, or court official determines that a person’s mask is not
        sufficient based on CDC guidelines. A person not wearing a mask as re-
        quired by this Order will not be allowed in – or will be directed to leave – a
        courthouse. … You should choose a cloth mask made of two or three layers
        of breathable fabric (like cotton or a cotton blend) that is tightly woven (so
        it does not let light pass through when held up to a light source). You may
        also wear a non-medical disposable mask.” Doc. 4 at 2-3.

     This Order breaks the law that individuals to whom any EUA product is offered

  must be informed “of the option to accept or refuse administration of the prod-

  uct…” 21 USC § 360bbb-3(e)(1)(A)(ii)(III) (emphasis added).

     Requirements for EUA products are waived for, among other things, “current

  good manufacturing practice otherwise applicable to the manufacture, processing,

  packing … of products subject to regulation under this chapter…” 21 USC §

  360bbb-3(e)(3)(A).

     These provisions in the Food, Drug, & Cosmetic Act (“FDCA”) are consistent

  with Department of Health & Human Services (“HHS”) regulations requiring that




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  participants in trials of experimental medical devices must be informed that “par-

  ticipation is voluntary, refusal to participate will involve no penalty…” 45 CFR §

  46.116(a)(8).

     Most masks being used by Floridians to comply with the Court’s mask mandate

  – including those face coverings provided by the Court itself – meet the legal defi-

  nition of an EUA “eligible product” that is “intended for use to prevent … a dis-

  ease…” 21 USC § 360bbb-3(a).

     FDA regulates most face masks under EUAs. Ex. 103. HHS and FDA state:

        “On April 18, 2020, in response to concerns relating to insufficient
        supply and availability of face masks, [FDA] issued an [EUA] author-
        izing the use of face masks for use by members of the general public…
        A face mask is a device … that covers the user’s nose and mouth and
        may or may not meet fluid barrier or filtration efficiency levels. It in-
        cludes cloth face coverings as a subset. … Face masks are regulated by
        FDA when they meet the definition of a ‘device’ under section 201(h)
        of the Act. Generally, face masks fall within this definition when they
        are intended for a medical purpose. … Face masks are authorized un-
        der this EUA when they are intended for use as source control, by
        members of the general public … to cover their noses and mouths, in
        accordance with CDC recommendations, to help prevent the spread of
        SARS-CoV-2 during the COVID-19 pandemic.” Ex. 104.

     The HHS secretary authorized EUAs for COVID-19 countermeasures (85 Fed.

  Reg. 17,335; Ex. 105) including respiratory devices (85 Fed. Reg. 13,907; Ex. 106).

  FDA published an EUA for face masks July 14, 2020. 85 Fed. Reg. 42,410; Ex. 107.

  Another mask EUA was published Nov. 20, 2020. 85 Fed. Reg. 74,352; Ex. 108.

     Masks must not be “labeled in such a manner that would misrepresent the prod-

  uct’s intended use; for example, the labeling must not state or imply that the prod-

  uct is intended for antimicrobial or antiviral protection or related uses or is for use


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  such as infection prevention or reduction… No printed matter, including advertis-

  ing or promotional materials, relating to the use of the authorized face mask may

  represent or suggest that such product is safe or effective for the pre-

  vention or treatment of patients during the COVID-19 pandemic.” Ex.

  104 (emphasis added).

     The instruction manual for a 3M N95 respirator mask, which is FDA approved,

  makes clear its wearing still has risks: “Misuse may result in sickness or death. …

  [It] cannot eliminate the risk of contracting infection, illness, or disease… Individ-

  uals with a compromised respiratory system, such as asthma or emphysema,

  should consult a physician and must complete a medical evaluation prior to use.”

  Ex. 109.

     FDA issued an umbrella EUA for 41 types of surgical masks, many of which are

  used by passengers to comply with governmental mask mandates. Ex. 110. Notably

  five types of masks have been withdrawn from the EUA after FDA found them to

  be defective. Id. FDA has also revoked the EUA for respirator masks made in China

  for being faulty. Ex. 111.

     CDC’s National Institute for Occupational Safety & Health (“NIOSH”) found

  many masks made in China “authorized under the April 3, 2020, EUA did not meet

  the expected performance standards.” Id. An astounding 167 respirator mask

  brands from China had their EUAs revoked by FDA. Another 54 were previously

  revoked. Id. FDA revokes EUAs when “appropriate to protect the public health or

  safety.” Ex. 112. Surgical masks (typically light blue in color) made in China are


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  also not authorized by FDA. Ex. 113.

     Although these 221 respirator mask brands (plus all surgical masks) manufac-

  tured in China may no longer be legally sold in the United States, there are likely

  tens or even hundreds of millions of these face coverings still being used by Amer-

  icans to comply with mask mandates, including the one imposed by this Court.

     So not only are quality masks worthless in CDC’s goal of reducing transmission

  of COVID-19, but the vast majority sold in the United States are actually defective,

  according to FDA. Ex. 115. “The ‘may be effective’ standard for EUAs provides for

  a lower level of evidence than the ‘effectiveness’ standard that FDA uses for product

  approvals.” Ex. 112.

     Even a well-informed consumer would find it nearly impossible to understand

  what types and brands of face masks have been authorized and which – if any –

  are regarded as safe to use by NIOSH to comply with the Court’s mask require-

  ment. The record shows no indication these issues were considered by the chief

  judge.

     When a mask manufacturer applies for an EUA, it must agree it may not “mis-

  represent the product or create an undue risk in light of the public health emer-

  gency. For example, the labeling must not include any express or implied claims

  for: … antimicrobial or antiviral protection or related uses, (3) infection preven-

  tion, infection reduction, or related uses, or (4) viral filtration efficiency.” Ex. 116.

     The Court simply has no legal power to force Americans to use an emergency

  medical device against their will as a requirement of accessing a public building.


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  This Order is disappointing because the Court is tasked by the Constitution to en-

  force compliance with the laws. But here the Court itself is violating the law – giv-

  ing litigants fighting mask mandates little hope of success and bringing the Court’s

  impartiality on this subject into grave doubt. If the Court won’t obey the law itself,

  how can we expect it to ensure the Executive Branch and airlines comply?

     The Court may only recommend masks to those entering courthouses. It can’t

  make it a requirement because we have the right to refuse administration of any

  EUA medical product such as a face covering.


  C. The Court is practicing medicine without a license by forcing the use
  of emergency medical devices.

     As far as I’m aware, this Court’s chief judge is not a doctor with a medical li-

  cense. By prescribing the use of face masks, most of which are EUA products clas-

  sified by the FDA as unapproved medical devices, the chief judge crosses the line

  into practicing medicine without a license. The Court even provides unauthorized

  and/or EUA-only masks to those entering courthouses without informing us use

  of the device is optional and we must give informed consent pursuant to the FDCA.

     Court employees likewise don’t have a medical license to order those present in

  a courthouse to obstruct our breathing, causing numerous harms to our health

  (https://lucas.travel/masksarebad) to perhaps spare another person from catch-

  ing a virus. The Court doesn’t have a medical license to demand others suffer to

  mitigate the fear and anxiety of those paranoid about catching COVID-19. Judges

  and Court staff are not competent and appropriately qualified physicians or other


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  healthcare professionals able to evaluate who can’t medically tolerate covering

  their nose and mouth.

     It’s a matter of common sense that doctors write prescriptions for medical de-

  vices, not judges or courthouse security personnel. My doctor told me not to wear

  a mask for my health. The Court has no legal power to overrule his judgment.

     A person may freely choose to accept medical risks for the benefit of others;

  they cannot be compelled by the Court or anyone else under the FDCA. We don’t

  harvest organs without consent, even if doing so would save many lives. Those who

  make such sacrifices for others must truly be volunteers, not conscripts. See Ab-

  dullahi v. Pfizer, 562 F.3d 163, 184 (2nd Cir. 2009).


                                 III. CONCLUSION

     WHEREFORE, I request this Court vacate its Order of July 30, 2021, requiring

  all people age four and above entering a courthouse in the Middle District of Flor-

  ida to don a face mask.

     Should the Court continue be under the false impression that face masks are

  effective at reducing the transmission of a respiratory virus such as COVID-19, it

  should issue a new Order recommending, not requiring, the use of face coverings.




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  Respectfully submitted this 9th day of February 2022.



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